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                    IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF COLUMBIA



UNITED STATES                         *

                                      *

      v.                              *    Case No.: 1:21-mj-00206-RMM

                                      *

NICHOLES LENTZ                        *



                            ENTRY OF APPEARANCE

      Please enter the appearance of Gary E. Proctor as court-appointed

counsel for the Defendant in the above-captioned case.



                                           Respectfully Submitted,



                                           ____________/s/____________

                                           Gary E. Proctor
                                           Law Offices of Gary E. Proctor, LLC
                                           8 E. Mulberry Street
                                           Baltimore, Maryland 21202
                                           Tel:   410.444.1500
                                           Fax: 443.836.9162
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                          CERTIFICATE OF SERVICE



      I hereby certify that on this day, March 29, 2021 a copy of the foregoing

was served on all parties via ECF.



                                                ___________/s/__________

                                                Gary E. Proctor




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